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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA et al.,
Plaintiffs,
V.
DEUTSCHE TELEKOM AG, T-MOBILE

US, INC., SOFTBANK GROUP CORP.,
SPRINT CORPORATION, and DISH

NETWORK CORPORATION, CaseNo. (¥-cev- 2232.
Defendants.
Filed:
FINAL JUDGMENT

WHEREAS, Plaintiffs, United States of America and the States of Kansas, Nebraska,
Ohio, Oklahoma, and South Dakota (“Plaintiff States”), filed their Complaint on July 26, 2019,
the Plaintiffs and Defendants Deutsche Telekom AG, T-Mobile US, Inc., SoftBank Group Corp.,
and Sprint Corp., by their respective attorneys, have consented to the entry of this Final
Judgment without trial or adjudication of any issue of fact or law, and without this Final
Judgment constituting any evidence against or admission by any party regarding any issue of fact
or law;

AND WHEREAS, pursuant to a Stipulation and Order among Deutsche Telekom AG, T-
Mobile US, Inc., SoftBank Group Corp., Sprint Corp., and DISH Network Corp. (collectively,
“Defendants”) and the United States, the Court has joined DISH Network Corp. as a defendant to

this action for the purposes of settlement and for the entry of this Final Judgment;
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AND WHEREAS, Defendants agree to be bound by the provisions of this Final
Judgment pending its approval by the Court;

AND WHEREAS, the purpose of this Final Judgment is to preserve competition by
enabling the entry of another national facilities-based mobile wireless network operator;

AND WHEREAS, Plaintiffs require Divesting Defendants to make certain divestitures
for the purpose of remedying the loss of competition alleged in the Complaint;

AND WHEREAS, Defendants have represented to Plaintiffs that the divestitures and
other relief required by this Final Judgment can and will be made and carried out, and that
Defendants will not later raise any claim of hardship or difficulty as grounds for asking the Court
to modify any of the provisions contained below;

NOW THEREFORE, before any testimony is taken, without trial or adjudication of any
issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED, AND
DECREED:

I. JURISDICTION

The Court has jurisdiction over the subject matter of and each of the parties to this action.
The Complaint states a claim upon which relief may be granted against Divesting Defendants
and Parent Defendants under Section 7 of the Clayton Act, 15 U.S.C. § 18. Pursuant to the
Stipulation and Order filed simultaneously with this Final Judgment joining DISH as a defendant
to this action, DISH has consented to this Court’s exercise of specific personal jurisdiction over
DISH in this matter solely for the purposes of settlement and for the entry and enforcement of

the Final Judgment.
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Il. DEFINITIONS

As used in this Final Judgment:

A. “Acquiring Defendant” or “Acquirer” or “DISH” mean Defendant DISH Network
Corporation, a Nevada corporation with its headquarters in Englewood, Colorado; its successors
and assigns; and its subsidiaries, divisions, groups, affiliates, partnerships, and joint ventures,
and their directors, officers, managers, agents, and employees.

B. “Assurance Wireless” means the prepaid wireless business conducted by Virgin
Mobile under the Assurance Lifeline brand.

C. “Cell Site” or “Fower Site” mean any wireless communications towers, rooftops,
water towers, or other wireless communications facilities owned or leased by Divesting Defendants
and the physical location and wireless equipment thereto.

D. “Decommissioned” or “Decommissioning” means, with respect to a Cell Site,
when the Cell Site is no longer transmitting on Divesting Defendants’ networks. With respect to
Retail Locations, Decommissioned or Decommissioning means when Divesting Defendants
cease customer service operations.

Es “Deutsche Telekom” means Deutsche Telekom AG, a German corporation
headquartered in Bonn, Germany, that is the controlling shareholder of T-Mobile; its successors
and assigns; and its parents, subsidiaries, divisions, groups, affiliates, partnerships, and joint
ventures, and their directors, officers, managers, agents, and employees.

E. “Divesting Defendants” means T-Mobile and Sprint.

G: “Divestiture Assets” means the Prepaid Assets, the 800 MHz Spectrum Licenses,

the Decommissioned Retail Locations, and the Decommissioned Cell Sites.
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H. “Fifth Generation Broadband Services” or “SG Services” means at least 3GPP
Release 15, capable of providing enhanced mobile broadband (eMBB) functionality.

1. “Full MVNO Agreement” means an agreement that (1) provides the Acquiring
Defendant the ability to sell retail mobile wireless services as an MVNO using the Divesting
Defendants’ wireless networks, (2) provides Acquiring Defendant the option to deploy its own
core network with all associated service platforms to be offered in combination with services
provided by Divesting Defendants’ wireless networks, and (3) requires Divesting Defendants to
provide network connectivity between Divesting Defendants and Acquiring Defendant’s network
for all traffic.

Ji “MVNO” means a mobile virtual network operator, such as TracFone and Google
Fi, that obtains network access from facilities-based providers like T-Mobile and Sprint and
resells that mobile wireless service to consumers under its own brand name.

K. “Parent Defendants” means Deutsche Telekom and SoftBank.

L. “Prepaid Assets” means all tangible and intangible assets primarily used by the
Boost Mobile, Sprint-branded prepaid, and Virgin Mobile businesses today, including but not
limited to Boost and Virgin Mobile Retail Locations, licenses, personnel, facilities, data, and
intellectual property, as well as all relationships and/or contracts with prepaid customers served
by Sprint, Boost Mobile, and Virgin Mobile. Prepaid Assets do not include the Assurance
Wireless business and the prepaid wireless customers of Shenandoah Telecommunications
Company and Swiftel Communications, Inc.

M. “Prepaid Assets Personnel” means all employees whose jobs currently focus on

the support of the Prepaid Assets, or whose jobs have previously focused on supporting the

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Prepaid Assets at any time between January 1, 2016 and the date on which the Prepaid Assets are
divested to the Acquirer. Prepaid Assets Personnel shall include no fewer than 400 current
employees of the Divesting Defendants, which shall include employees involved in sales
management, marketing management, distribution support, sales support, and finance.

N. “Retail Locations” means any retail locations owned or operated by Divesting
Defendants and from which either T-Mobile or Sprint sells mobile wireless service under any of
their affiliated brands, including Sprint, Boost Mobile, Virgin Mobile, T-Mobile, Metro by
T-Mobile, and MetroPCS.

O. “800 MHz Spectrum Licenses” means all of Sprint’s 800 MHz spectrum holdings
as listed and described in Attachment A to this Final Judgment.

P, “600 MHz Spectrum Licenses” means all of DISH’s 600 MHz spectrum holdings
as listed and described in Attachment B to this Final Judgment.

Q. “SoftBank” means SoftBank Group Corp., a Japanese corporation and controlling
shareholder of Sprint; its successors and assigns; and its parents, subsidiaries, divisions, groups,
affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and
employees.

R, “Sprint” means Defendant Sprint Corporation, a Delaware corporation with its
headquarters in Overland Park, Kansas; its successors and assigns; and its subsidiaries, divisions,
groups, affiliates (other than SoftBank), partnerships, and joint ventures, and their directors,
officers, managers, agents, and employees.

S. “T-Mobile” means Defendant T-Mobile US, Inc., a Delaware corporation with its
headquarters in Bellevue, Washington; its successors and assigns; and its subsidiaries, divisions,

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groups, affiliates (other than Deutsche Telekom), partnerships, and joint ventures, and their
directors, officers, managers, agents, and employees.

Il. APPLICABILITY

A. This Final Judgment applies to the Divesting Defendants, Parent Defendants, and
Acquiring Defendant, as defined above, and al! other persons in active concert or participation
with any of them who receive actual notice of this Final Judgment by personal service or
otherwise.

B. If any of the terms of an agreement between (1) Divesting Defendants and the
Acquiring Defendant to effectuate the divestitures required by the Final Judgment or (ii)
Defendants and the Federal Communications Commission (FCC) to effectuate the divestitures
required by the Final Judgment varies from the terms of this Final Judgment then, to the extent
that Defendants cannot fully comply with both terms due to a conflict between the terms, this
Final Judgment will determine Defendants’ obligations. Provided, however, that if there is an
inconsistency between this Final Judgment and any commitment any of the Defendants have
made to the FCC, the more stringent obligations will control.

IV. DIVESTITURES

A. Prepaid Assets

lL. The Divesting Defendants shall take all actions required to enable
Acquiring Defendant to have, within ninety (90) days after notice of the entry of this
Final Judgment by the Court, the ability to provision any new or existing customer of the
Prepaid Assets holding a compatible handset device onto the T-Mobile network pursuant

to the terms of any Full MVNO Agreement. Divesting Defendants are ordered and

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all agreements related to the Prepaid Assets. To the extent consent cannot be obtained
and the agreement is not otherwise assignable, Divesting Defendants shall use best efforts
to obtain or provide for Acquiring Defendant, as expeditiously as possible, the full
benefits of any such agreement as it relates to the Prepaid Assets by assisting Acquiring
Defendant to secure a new agreement and by taking any other steps necessary to ensure
that Acquiring Defendant obtains the full benefit of the agreement as it relates to the
Prepaid Assets. Divesting Defendants will not assert, directly or indirectly, any legal
claim that would interfere with Acquiring Defendant’s ability to obtain the full benefit
from any transferred third-party agreement to the same extent enjoyed by Divesting
Defendant prior to the transfer.

6. At Acquiring Defendant’s option, on or before the divestiture of the
Prepaid Assets, Divesting Defendants shall provide contact information and make
introductions to distributors and suppliers that support the Prepaid Assets. Divesting
Defendants shall not interfere with Acquiring Defendant’s attempts to negotiate with
these distributors or suppliers.

B. 800 MHz Spectrum License Transfer

l. Divesting Defendants are ordered and directed, within three (3) years after
the closing of the divestiture of the Prepaid Assets or within five (5) business days of the
approval by the FCC of the transfer of the 800 MHz Spectrum Licenses, whichever is
later, to divest the 800 MHz Spectrum Licenses in a manner acceptable to the United
States, in its sole discretion, after consultation with the affected Plaintiff States. The

United States, in its sole discretion, after consultation with the affected Plaintiff States,

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may agree to one or more extensions of this time period not to exceed sixty (60) calendar
days in total, and will notify the Court in such circumstances. Acquiring Defendant will
make timely application to the FCC for the transfer of the spectrum to comply with this
Paragraph.

2 Acquiring Defendant shall pay a penalty of $360,000,000 to the United
States if it elects not to purchase the 800 MHz Spectrum Licenses. The Acquiring
Defendant shall pay the penalty within thirty (30) days of declining to purchase the 800
MHz Spectrum Licenses. Notwithstanding the foregoing, the Acquiring Defendant will
not be required to pay such penalty if it has deployed a core network and offered 5G
Service to at least 20% of the U.S. population over DISH’s facilities-based network
within three (3) years of the closing of the divestiture of the Prepaid Assets.

3. If, at the expiration of this Final Judgment, Acquiring Defendant has
acquired the 800 MHz Spectrum Licenses, but has not deployed all of the 800 MHz
Spectrum Licenses for use in the provision of retail mobile wireless services, Acquiring
Defendant shall forfeit to the FCC, at the United States’ sole discretion, after consultation
with the affected Plaintiff States, all of the 800 MHz Spectrum Licenses that are not
being used to provide retail mobile wireless services, unless Acquiring Defendant already
is providing nationwide retail mobile wireless services over DISH’s facilities-based
network.

4. If the Acquiring Defendant does not purchase the 800 MHz Spectrum
Licenses, Divesting Defendants shall conduct an auction of the 800 MHz Spectrum
Licenses within six (6) months of Acquiring Defendant declining to purchase the

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licenses. In such auction, Divesting Defendants will not divest the 800 MHz Spectrum
Licenses to any other national facilities-based mobile wireless network operator, without
the prior written approval of the United States, in its sole discretion, after consultation
with the affected Plaintiff States, and will not be required to divest the 800 MHz
Spectrum Licenses at a price that is lower than the price the Acquiring Defendant
originally agreed to pay for such licenses. In addition, Divesting Defendants may apply
to the United States to be relieved from the commitment to sell the 800 MHz Spectrum
Licenses if (i) Acquiring Defendant declines to purchase the 800 MHz Spectrum License
and (ii) the sale of the 800 MHz Spectrum Licenses is no longer needed fully to remedy
the competitive harms of the merger, as determined by the United States in its sole
discretion, after consultation with the affected Plaintiff States.
C. Decommissioned Cell Sites

1. Divesting Defendants shall make all Cell Sites Decommissioned by
Divesting Defendants within five (5) years of the closing of the divestiture of the Prepaid
Assets, which shall not be fewer than 20,000 Cell Sites, available to Acquiring Defendant
immediately after such Decommissioning.

2. Divesting Defendants shall provide, no later than the closing of the Prepaid
Assets divestiture, fhe Acquiring Defendant and Monitoring Trustee with a detailed
schedule identifying, over the next five (5) years: (i) each Cell Site that the Divesting
Defendants plan to Decommission; (ii) the forecasted date for Decommissioning; and
(iii) whether a given Cell Site is freely transferrable. For a period of five (5) years

following the closing of the divestiture of the Prepaid Assets, on the first day of each

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however, that following the divestiture of the 800 MHz Spectrum Licenses, the Divesting
Defendants will be permitted to lease back from the Acquiring Defendant up to 4 MHz of
spectrum as needed for up to two (2) years following the divestiture of the 800 MHz Spectrum
Licenses.

XVI. NOTIFICATIONS

A. Acquiring Defendant shall notify the United States at least thirty (30) calendar
days prior to any change in the corporation(s) that may affect compliance obligations arising
under this Final Judgment, including, but not limited to: a dissolution, assignment, sale, merger,
or other action that would result in the emergence of a successor corporation; the creation or
dissolution of a subsidiary, parent, or affiliate that engages in any acts or practices subject to
this Final Judgment; the proposed filing of a bankruptcy petition; or a change in the corporate
name or address. Provided, however, that, with respect to any proposed change in the
corporation(s) about which Acquiring Defendant learns fewer than thirty (30) calendar days
prior to the date such action is to take place, Acquiring Defendant shall notify the United States
as soon as Is practicable after obtaining such knowledge.

B. For transactions that are not subject to the reporting and waiting period
requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15
U.S.C, § 18a (the “HSR Act”), Divesting Defendants shall not, without providing advanced
notification to the United States, directly or indirectly acquire a financial interest, including
through securities, loan, equity, or management interest, in any company that competes for the

provision of mobile wireless retail] services. Acquiring Defendant shall not sell any of the

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Divestiture Assets or any currently held substantially similar assets, directly or indirectly,
without providing advance notification to the United States,

Ee. Such notification will be provided to the United States in the same format as, and
per the instructions relating to, the Notification and Report Form set forth in the Appendix to
Part 803 of Title 16 of the Code of Federal Regulations as amended. Notification will be
provided at least thirty (30) calendar days prior to acquiring any such interest, and will include,
beyond what may be required by the applicable instructions, the names of the principal
representatives of the parties to the agreement who negotiated the agreement, and any
management or strategic plans discussing the proposed transaction. If within thirty (30) calendar
days after notification, the United States makes a written request for additional information,
Defendants shall not consummate the proposed transaction or agreement until thirty (30)
calendar days after submitting and certifying, in the manner described in Part 803 of Title 16 of
the Code of Federal Regulations as amended, the truth, correctness, and completeness of all such
additional information. Early termination of the waiting periods in this paragraph may be
requested and, where appropriate, granted in the same manner as is applicable under the
requirements and provisions of the HSR Act and rules promulgated thereunder. This Section
will be broadly construed and any ambiguity or uncertainty regarding the filing of notice under
this Section will be resolved in favor of filing notice. Defendants may, however, provide
informal notice and request that the United States waive the requirement of formal notice for any
transaction.

Dz. Defendants represent and warrant to the United States that they have disclosed all

agreements between Acquiring Defendant and either Divesting Defendants or Parent Defendants

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related to the settlement of this action and their obligations and commitments put forth in this
Final Judgment. Defendants will provide thirty (30) days written notice to the United States of
any intent to enter into or execute any amendment, supplement, or modification to any of the
agreements between Divesting Defendants or Parent Defendants and Acquiring Defendant.
Notwithstanding any provision to the contrary in the agreements between Divesting Defendants
or Parent Defendants and Acquiring Defendant, Divesting Defendants or Parent Defendants may
not amend, supplement, terminate, or modify any of the agreements or any portion thereof
without obtaining the consent of the United States in its sole discretion. The United States will
not withhold consent to amendment, supplementation, modification, or termination of any of the
agreements or portion thereof if Divesting Defendants demonstrate to the United States, in its
sole discretion, that a refusal to amend, supplement, modify, or terminate the agreements would
prevent Divesting Defendants from meeting any build out requirements imposed by the FCC.

XVI. RETENTION OF JURISDICTION

The Court retains jurisdiction to enable any party to this Final Judgment to apply to the
Court at any time for further orders and directions as may be necessary or appropriate to carry
out or construe this Final Judgment, to modify any of its provisions, to enforce compliance, and
to punish violations of its provisions.

XVIII. ENFORCEMENT OF FINAL JUDGMENT

A. The United States retains and reserves all rights to enforce the provisions of this
Final Judgment, including the right to seek an order of contempt from the Court. Defendants
agree that in any civil contempt action, any motion to show cause, or any similar action brought

by the United States regarding an alleged violation of this Final Judgment, the United States may

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establish a violation of the decree and the appropriateness of any remedy therefore by a
preponderance of the evidence, and Defendants waive any argument that a different standard of
proof should apply.

B. The Final Judgment should be interpreted to give full effect to the procompetitive
purposes of the antitrust laws and to restore all competition harmed by the challenged conduct.
Defendants agree that they may be held in contempt of, and that the Court may enforce, any
provision of this Final Judgment that, as interpreted by the Court in light of these procompetitive
principles and applying ordinary tools of interpretation, is stated specifically and in reasonable
detail, whether or not it is clear and unambiguous on its face. In any such interpretation, the
terms of this Final Judgment should not be construed against either party as the drafter.

C. In any enforcement proceeding in which the Court finds that Defendants have
violated this Final Judgment, the United States may apply to the Court for a one-time extension
of this Final Judgment, together with such other relief as may be appropriate. In connection with
any successful effort by the United States to enforce this Final Judgment against a Defendant,
whether litigated or resolved prior to litigation, that Defendant agrees to reimburse the United
States for the fees and expenses of its attorneys, as well as any other costs including experts’
fees, incurred in connection with that enforcement effort, including in the investigation of the
potential violation.

Ds For a period of four (4) years after the expiration or termination of the Final
Judgment pursuant to Section XIX, if the United States has evidence that a Defendant violated
this Final Judgment before it expired or was terminated, the United States may file an action

against that Defendant in this Court requiring that the Court order (i) Defendant to comply with

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the terms of this Final Judgment for an additional term of at least four (4) years following the
filing of the enforcement action under this Section, (ii) any appropriate contempt remedies, (ili)
any additional relief needed to ensure that Defendant complies with the terms of the Final
Judgment, and (iv) fees or expenses as called for in Paragraph XVIII(C).

XIX. EXPIRATION OF FINAL JUDGMENT

Unless the Court grants an extension, this Final Judgment expires seven (7) years from
the date of its entry, except that after five (5) years from the date of its entry, this Final Judgment
may be terminated upon notice by the United States to the Court and Defendants that the
divestitures, buildouts and other requirements have been completed and that the continuation of
the Final Judgment no longer is necessary or in the public interest.

XX. PUBLIC INTEREST DETERMINATION

Entry of this Final Judgment is in the public interest. The parties have complied with the
requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making
copies available to the public of this Final Judgment, the Competitive Impact Statement, any
comments thereon, and the United States’ responses to comments. Based upon the record before
the Court, which includes the Competitive Impact Statement and any comments and responses to

comments filed with the Court, entry of this Final Judgment is in the public interest.

Date: April ly 2020

[Court approval subject to procedures of Antitrust Procedures and Penalties Act, 15 U.S.C. § 16]

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United States District Judge

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